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UNITED STATES DISTRICT COURT “' ~WEIC,
WESTERN DISTRICT OF TENNESSEE
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UNITED STATES OF AMERICA,

Plaintiff,

v. Case No. 04-2097-Ma

Two Hundred Eighty-Six Thousand Four

Hundred Forty Dollars ($286,440.00) in

United States Currency,

Nine (9) Assorted Conveyances, with All

Appurtenances and Attachments Thereon,

Miscellaneous Computer Equipment,

Assorted Jewelry,

Defendants,
J'UDGMENT
Decision by Court. This action came for consideration before the
Court. The issues have been duly considered and a decision has been

rendered.

IT IS ORDERED, ADJUDGED AND DECREED that, in accordance with the
Consent Order docketed May 19, 2005, the following property shall be
forfeited to the United States to be disposed of in accordance with law:

a. The following vehicles:
1) One 1968 Chevrolet Impala automobile bearing vehicle
identification number 1648785256691, with all

appurtenances and attachments thereon;

2) One 2001 Chrysler Prowler automobile bearing vehicle
identification number 1CEW65G81V702458; and

3) A 1994 Crowlin boat {hull no. JTC16323K394} and Prestige
trailer (serial no. lP9BT222XRC208173).

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b. The following jewelry seized by law enforcement agents on
September 30, 2003, from premises and/or vehicles associated
with Lermedeyo Malone:

1) One men's Rolex President with pave diamond dial round
diamond bezel (38 diamonds), model #18239;

2) One men's bracelet with 219 princess diamonds and 146
brilliant diamonds, white mount;

3) One men's chain with 174 brilliant diamonds, stones set
in white link chain with matching bracelet;

4} One men's cross pendant with 104 tapered diamonds and
seven brilliant diamonds, white mount;

5) One men's ring with 65 princess diamonds, white mount;

6) One men's bracelet with 838 brilliant diamonds and 108
princess diamonds, white mount;

7) One men's bracelet with 94 brilliant diamonds, stones
set in white mounting;

8) One men's ring with 28 princess cut diamonds and 20
brilliant cut diamonds, white mount;

9) One men's initial pendant with 78 princess cut diamonds,
135 brilliant diamonds, and 12 brilliant diamonds,
initial “L”;

10) One men's fancy line necklace measuring 6mm wide and 8"
in length;

11) One men's fancy link bracelet measuring 6mm.wide and 8"
in length;

12) One men's fancy link bracelet measuring 6mm wide and 39"
in length;

13) One men's cross pendant with 126 diamonds accented with
65 baguette diamonds.

c. The following currency:
1) $25,336.00 in U.S. Currency seized by law enforcement
agents on September 30, 2003, at 5131 Briarwind,
Arlingtonr Tennessee 38002~8955, and
2) $237,060.00 in U.S. Currency seized by law enforcement

agents on, September 30, 2003, at 5417 Meadomr Cross
Drive, Memphis, Tennessee 38141.

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IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the following
property shall be returned to the claimants:

a. 1 pair of earrings each with 36 princess cut diamonds; stones
set in white mounting;

b. 1 men's ring with 56 princess cut diamonds set in a white
mounting;

c- 1 men's ring with 44 princess cut diamonds set in white
mounting;

d. 1 pair of stud earrings with 25 princess cut diamonds set in

a white mounting;

e. 1 men's stainless steel Gucci watch with silver chronograph
face, accented by 206;

f. 1 ladies chain and pendant with cubic zirconium stones;

g. 1 ladies anniversary band with three baguette diamonds;

h. 1 necklace with seven round diamonds;

i. l ladies ring with three princess diamonds and three brilliant
diamonds;

j. 1 ladies Rolex Datejust watch.

Plaintiff and claimants shall not be entitled to costs in this
matter, and neither they nor the persons who made the seizure of the
defendant property, nor the prosecutor, shall be liable to suit or
judgment on account of the seizure of the defendant property.

This action shall be dismissed with prejudice, and each party shall
bear its own attorneys' fees and costs.

APPROVED :

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CV-02097 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

ESSEE

 

Larry M. Sargent
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

l\/lemphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

